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               IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

VIFOR (INTERNATIONAL) AG and
AMERICAN REGENT, INC.,

          Plaintiffs,

v.                                       Civil Action No. 1:19cv126


MYLAN LABORATORIES LTD.,

          Defendant.


                            ORDER OF RECUSAL

     The undersigned Judge, deeming himself disqualified pursuant

to 28 U.S.C. § 455(a), ORDERS that the above-styled civil action

be transferred to and placed on the docket of the Honorable Irene

M. Keeley, United States District Judge.

     The Court directs the Clerk to transmit copies of this order

to counsel of record.


DATED: July 1, 2019


                                  /s/ Thomas S. Kleeh
                                  THOMAS S. KLEEH
                                  UNITED STATES DISTRICT JUDGE
